Opinion issued August 22, 2024




                                      In The

                               Court of Appeals
                                      For The

                          First District of Texas
                            ————————————
                               NO. 01-23-00331-CV
                            ———————————
    ELIZABETH THOMAS, JAMES ALLEN, ALLAN HAYE, ROBERT
           THOMAS, AND JAMES ANDERSEN, Appellants
                                         V.
                  PCF PROPERTIES IN TX, LLC, Appellee


                    On Appeal from the 80th District Court
                            Harris County, Texas
                      Trial Court Case No. 2020-35780


                          MEMORANDUM OPINION

      Appellants, James Allen and Robert Thomas, have filed notices of appeal

from the trial court’s April 19, 2023 summary-judgment order.1 On April 29, 2024,


1
      Appellants, Elizabeth Thomas, Allan Haye, and James Andersen, also filed notices
      of appeal from the trial court’s April 19, 2023 summary-judgment order. On April
Allen and Thomas filed a motion to dismiss their appeal, stating that they “move[d]

to voluntarily dismiss their appeal pursuant to [Texas] Rule [of Appellate Procedure]

42.1” because “they no longer wish[ed] for it to be heard.” See TEX. R. APP. P.

42.1(a)(1).

      No opinion has issued. See TEX. R. APP. P. 42.1(c). Allen and Thomas’s

motion does not include a certificate of conference stating that they conferred, or

made a reasonable attempt to confer, with appellee, PCF Properties in TX, LLC,

regarding the relief requested in the motion.      See TEX. R. APP. P. 10.1(a)(5).

However, PCF Properties in TX, LLC, filed a response to Allen and Thomas’s

motion to dismiss.

      Accordingly, the Court grants Allen and Thomas’s motion and dismisses their

appeal. See TEX. R. APP. P. 42.1(a)(1), 43.2(f). We dismiss any other pending

motions as moot.

                                  PER CURIAM
Panel consists of Chief Justice Adams and Justices Hightower and Countiss.




      25, 2024, this Court dismissed the appeals of Thomas, Haye, and Andersen for want
      of prosecution. See TEX. R. APP. P. 42.3(b).

                                          2
